            Case 6:20-cv-00180-JDK Document 9 Filed 05/13/20 Page 1 of 1 PageID #: 40
AO 458 (Rev. 06/09) Appearance of Counsel


                                     UNITED STATES DISTRICT COURT
                                                              for the
                                                EASTERN  DISTRICT
                                                 __________          OF__________
                                                            District of TEXAS


  NOVEDEA SYSTEMS, INC. and ANAND DASARI                         )
                             Plaintiff                           )
                                v.                               )      Case No.   6:20-cv-180-JDK
      COLABERRY, INC. and RAM KATAMARAJA                         )
                            Defendant                            )

                                                      APPEARANCE OF COUNSEL

To:       The clerk of court and all parties of record

          I am admitted or otherwise authorized to practice in this court, and I appear in this case as counsel for:

          Defendants Colaberry, Inc. and Ram Katamaraja                                                                     .


Date:          05/13/2020                                                                  /s/ Sean N. Hsu
                                                                                          Attorney’s signature


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